AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

To:

Date:

United States of America )
Plaintiff )
v. ) Case No. 3:23-cr-00011-NKM-JCH-1
Scott Jenkins )
Defendant )
APPEARANCE OF COUNSEL

The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Scott Jenkins

09/15/2023 filip- A nLencan

Attorney's signature

Philip Andonian (DC Bar No. 490792)

Printed name and bar number

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